Case 1:23-cv-03721-SCJ Document 42-2 Filed 09/14/23 Page 1 of 5




                    EXHIBIT 2
                            Case 1:23-cv-03721-SCJ Document 42-2 Filed 09/14/23 Page 2 of 5
Office of Public Affairs | Acting Assistant Attorney General Ethan P. D…es Departure from Civil Division | United States Department of Justice               9/4/23, 12:37 PM



                              Welcome to the new look of justice.gov. In the coming months you’ll see more pages in this new                           ×
                              design. Please share your feedback with our webmaster.

                            An official website of the United States government Here's how you know


                      DOJ Menu


                                                                                                                             Our Offices   Find Help   Contact Us

                                                                                                                               Search




              About         News           Documents              Internships           FOIA          Contact      Information for Journalists



             Justice.gov  Office of Public Affairs           News       Press Releases         Acting Assistant Attorney General Ethan P. Davis Announces
             Departure From Civil Division



             News                                     PRESS RELEASE



                 All News                             Acting Assistant Attorney General
                 Blogs
                                                      Ethan P. Davis Announces Departure
                                                      from Civil Division
                 Photo Galleries


                 Podcasts
                                                      Tuesday, September 1, 2020                                    For Immediate Release

                 Press Releases                                                                                     Office of Public Affairs
                                                         Share


                 Speeches

                                                      Acting Assistant Attorney General Ethan P. Davis of the Department of Justice’s Civil Division
                 Videos                               announced his departure from the Department today, effective Sept. 7, 2020. Assistant Attorney
                                                      General Jeffrey Bossert Clark of the Environment and Natural Resources Division will replace
                                                      Mr. Davis.

                                                      “I want to thank Ethan for stepping up and leading the Civil Division these last few months,” said
                                                      Attorney General William P. Barr. “Ethan is an outstanding lawyer – his work has been integral to
                                                      the Civil Division’s successes over the past few years and I know his talents and leadership will
                Archived News                         be sorely missed. I also want to thank Jeff Clark, who has done a fantastic job leading the
                                                      Department’s Environment and Natural Resources Division, for stepping in to lead the Civil
                                                      Division after Ethan’s departure.”

                                                      “I am honored and humbled to have served alongside the dedicated lawyers and staff in the Civil
                Para Notícias en Español              Division,” said Acting Assistant Attorney General Ethan P. Davis. “Many of the most talented
                                                      people in the federal government work in the Civil Division, and I am grateful to Attorney
                                                      General Barr for giving me the opportunity to serve.”

                                                      Mr. Davis joined the Civil Division in 2017 as the Deputy Assistant Attorney General for the
                                                      Consumer Protection Branch, where he oversaw civil and criminal enforcement actions designed
                                                      to combat the opioid crisis and fraud on elderly Americans. Mr. Davis also served on the Deputy
                                                      Attorney General’s Corporate Enforcement Working Group, which developed and implemented
                                                      several significant policy reforms. After a year clerking for Justice Neil Gorsuch on the Supreme



https://www.justice.gov/opa/pr/acting-assistant-attorney-general-ethan-p-davis-announces-departure-civil-division                                                   Page 1 of 4
                           Case 1:23-cv-03721-SCJ Document 42-2 Filed 09/14/23 Page 3 of 5
Office of Public Affairs | Acting Assistant Attorney General Ethan P. D…es Departure from Civil Division | United States Department of Justice    9/4/23, 12:37 PM


                                                 Court, he returned to the Justice Department as the Civil Division’s Principal Deputy Assistant
                                                 Attorney General, and later the Acting Assistant Attorney General. In those roles, he supervised
                                                 the Division’s civil defensive work, as well as implementation of the Division’s corporate
                                                 enforcement policies, including the voluntary disclosure, cooperation, and remediation policies.

                                                 Under Acting Assistant Attorney General Davis’s leadership, the Civil Division has used every
                                                 enforcement tool available to prevent wrongdoers from exploiting the COVID-19 crisis. In
                                                 particular, Mr. Davis focused on the use of the False Claims Act (FCA) to address fraud and other
                                                 illegal activity related to the COVID-19 stimulus programs, including the Paycheck Protection
                                                 Program, the Main Street Credit Facility, and the provider relief fund. Mr. Davis also prioritized
                                                 enforcement of the Food, Drug, and Cosmetic Act (FDCA) against fraudulent COVID-19 tests,
                                                 treatments, purported cures, and other products. For example, in August 2020, the Civil
                                                 Division, working with agency partners and the U.S. Attorney’s Office for the Middle District of
                                                 Florida, obtained a Temporary Restraining Order against a defendant that operated hundreds of
                                                 websites that fraudulently purported to sell products that became scarce during the pandemic,
                                                 including hand sanitizer and disinfectant wipes.

                                                 During Mr. Davis’s tenure, the Civil Division also fought the opioid epidemic through actions
                                                 under the FCA, the FDCA, and the Controlled Substances Act. The Civil Division pursued
                                                 criminal and civil investigations into pharmaceutical companies, pharmacies, health care
                                                 providers, and other entities for alleged unlawful activity related to the opioid crisis. In one
                                                 matter, for example, the Civil Division and the U.S. Attorney’s Office for the District of Vermont
                                                 reached a $145 million resolution with an electronic health records company for soliciting and
                                                 receiving kickbacks from a major opioid company.

                                                 Additionally, under Mr. Davis’s leadership, the Civil Division also took aggressive steps to combat
                                                 fraud on elderly Americans. The Civil Division prioritized using the FCA to pursue nursing homes
                                                 that provide substandard care to residents, as well as other statutes against individuals and
                                                 companies that use fraudulent robocalls to prey on American seniors. In August 2020, for
                                                 example, the Civil Division and the U.S. Attorney’s Office for the Eastern District of New York
                                                 successfully secured a permanent injunction barring two individuals and two companies that
                                                 transmitted massive volumes of fraudulent robocalls from conveying any telephone calls into
                                                 the U.S. telephone system.


                                                 Updated September 1, 2020




                                                 Topic

                                                    OFFICE AND PERSONNEL UPDATES




                                                 Components

                                                 Civil Division     Office of the Attorney General


                                                 Press Release Number: 20-861




https://www.justice.gov/opa/pr/acting-assistant-attorney-general-ethan-p-davis-announces-departure-civil-division                                      Page 2 of 4
                           Case 1:23-cv-03721-SCJ Document 42-2 Filed 09/14/23 Page 4 of 5
Office of Public Affairs | Acting Assistant Attorney General Ethan P. D…es Departure from Civil Division | United States Department of Justice    9/4/23, 12:37 PM




             Related Content


                 VIDEO                                           PRESS RELEASE                                  PRESS RELEASE

                 Swearing-In Ceremony for                        Rosie Hidalgo Sworn In as                      Justice Department
                 the Director of the O!ce                        Director for the O!ce on                       Announces National
                 on Violence Against                             Violence Against Women                         Human Tra!cking
                 Women Rosemarie                                                                                Coordinator and National
                                                                 The Justice Department announced
                 Hidalgo                                         that Rosie Hidalgo was sworn in                Coordinator for Child
                                                                 today as the Director for the Office           Exploitation Prevention
                                                                 on Violence Against Women (OVW).               and Interdiction
                                                                 As director, she will spearhead the
                                                                 Department's principal...                      The Justice Department today
                                                                                                                announced the designation and
                                                                                                                appointment of a National Human
                                                                                                                Trafficking Coordinator and a
                                                                                                                National Coordinator for Child
                                                                                                                Exploitation Prevention and
                                                                                                                Interdiction.



                 August 15, 2023                                 July 18, 2023                                  April 28, 2023




                   Office of Public Affairs                       Office of Public Affairs Direct Line            Signup for Email Updates

                   U.S. Department of Justice                     202-514-2007                                    Social Media

                   950 Pennsylvania Avenue, NW
                                                                  Department of Justice Main
                   Washington DC 20530
                                                                  Switchboard
                                                                  202-514-2000




https://www.justice.gov/opa/pr/acting-assistant-attorney-general-ethan-p-davis-announces-departure-civil-division                                      Page 3 of 4
                           Case 1:23-cv-03721-SCJ Document 42-2 Filed 09/14/23 Page 5 of 5
Office of Public Affairs | Acting Assistant Attorney General Ethan P. D…es Departure from Civil Division | United States Department of Justice   9/4/23, 12:37 PM


             Archives                            Accessibility                       Information Quality                Español


             Budget & Performance                Legal Policies & Disclaimers        Office of the Inspector            Have a question about
                                                                                     General                            Government Services?
             FOIA                                Privacy Policy
                                                                                                                        Contact USA.gov
                                                                                     No FEAR Act Data
                                                 For Employees
                                                                                     Small Business


                                                                                     Vote.gov




https://www.justice.gov/opa/pr/acting-assistant-attorney-general-ethan-p-davis-announces-departure-civil-division                                     Page 4 of 4
